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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                          )
 In re:                                                   ) Chapter 11
                                                          )
 ALEXANDER E. JONES,                                      ) Case No. 22-33553 (CML)
                                                          )
                        Debtor.                           )
                                                          )

                   APPLICATION OF THE OFFICIAL COMMITTEE
               OF UNSECURED CREDITORS OF ALEXANDER E. JONES
              TO RETAIN AND EMPLOY AKIN GUMP STRAUSS HAUER &
            FELD LLP AS COUNSEL, EFFECTIVE AS OF DECEMBER 19, 2022

      If you object to the relief requested, you must respond in writing. Unless
      otherwise directed by the Court, you must file your response electronically at
      https://ecf.txsb.uscourts.gov/ within twenty-one (21) days from the date this
      application was filed. If you do not have electronic filing privileges, you must file
      a written objection that is actually received by the clerk within twenty-one days
      from the date this application was filed. Otherwise, the Court may treat the
      application as unopposed and grant the relief requested.

      Represented parties should act through their attorney.

          The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

chapter 11 case of Alexander E. Jones (the “Debtor,” and such case, the “Chapter 11 Case”)

submits this application (this “Application”), pursuant to sections 328(a) and 1103(a) of title 11 of

the United States Code (the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2014-1 and 2016-1 of the Local Rules

of Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the Southern

District of Texas (the “Local Rules”), for entry of an order, substantially in the form attached

hereto as Exhibit A, authorizing the Committee to retain and employ Akin Gump Strauss Hauer

& Feld LLP (“Akin Gump”) as its counsel in connection with the Chapter 11 Case, effective as of

December 19, 2022. In support of this Application, the Committee submits the declaration of
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David M. Zensky, a partner of Akin Gump (the “Zensky Declaration”), and the declaration of

Leonard Pozner and Robert Parker, each in his capacity as co-chair of the Committee (the “Pozner

and Parker Declaration”), attached hereto as Exhibit B and Exhibit C, respectively. Notably, as

will be discussed in further detail below, Akin Gump is committed to serving clients in need and

has agreed to take on the representation of the Committee in the Chapter 11 Case on a pro bono

basis, subject to the terms described in this Application and Court approval. In further support of

this Application, the Committee respectfully represents as follows.

                                JURISDICTION AND VENUE

       1.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this Application pursuant to 28 U.S.C. § 1334. This matter is a

core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

       2.      Venue in the Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory and rule predicates for the relief requested herein are Bankruptcy

Code sections 328(a) and 1103(a), Bankruptcy Rules 2014 and 2016 and Local Rules 2014-1 and

2016-1.

                                        BACKGROUND

       4.      On December 2, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtor continues in possession of his

estate and is managing such estate as a debtor in possession pursuant to Bankruptcy Code sections

1107 and 1108. No request has been made for the appointment of a trustee or an examiner in the

Chapter 11 Case.

       5.      On December 13, 2022, pursuant to Bankruptcy Code section 1102, the Office of

the United States Trustee for the Southern District of Texas (the “U.S. Trustee”) appointed six of




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the Debtor’s unsecured creditors to serve as members of the Committee.1 The Committee currently

comprises the following six individuals: (i) Robert Parker; (ii) Nicole Hockley; (iii) Jennifer

Hensel; (iv) David Wheeler; (v) Leonard Pozner; and (vi) Scarlett Lewis. Each member of the

Committee is a judgment creditor of the Debtor, following their successful prosecution of state

court litigation in Texas or Connecticut stemming from the Debtor’s defamatory statements and

actions concerning the Sandy Hook shootings.2

         6.       On December 19, 2022, the Committee selected Akin Gump to serve as its counsel

in connection with the Chapter 11 Case, subject to Court approval. On January 5, 2023, the

Committee selected Nardello & Co. (“Nardello”), subject to Court approval, to aid in its review of

the Debtor’s estate and prepetition transactions, and is working to select a general financial advisor

to the Committee in the very near term.3

                                            RELIEF REQUESTED

         7.       The Committee seeks to retain and employ Akin Gump as its counsel, pursuant to

Bankruptcy Code sections 328(a) and 1103(a), Bankruptcy Rule 2014 and Local Rule 2014-1,

effective as of December 19, 2022.

                                       SERVICES TO BE PROVIDED

         8.       The Committee respectfully submits that it is necessary and appropriate for it to

retain and employ Akin Gump to, among other things:




1
  See Notice of Appointment of Official Committee of Unsecured Creditors, dated December 13, 2022 [ECF No. 42].
2
  See Verified Statement of the Official Committee of Unsecured Creditors of Alexander E. Jones Pursuant to
Bankruptcy Rule 2019, dated January 17, 2023 [ECF No. 94].
3
  Nardello appreciates the unique nature of this Chapter 11 Case and the importance of the issues raised. As such,
Nardello has agreed to render its services on an entirely pro bono basis, subject to the terms set forth in its retention
application, which will be filed in the near term. Similarly, the Committee expects any financial advisor selected by
the Committee will render its services to the Committee at a significant discount to its standard rates, subject to the
terms set forth in its retention application.


                                                           3
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(a)   advise the Committee with respect to its rights, duties and powers in the Chapter
      11 Case;

(b)   assist and advise the Committee in its consultations and negotiations with the
      Debtor and other parties in interest regarding the administration of the Chapter 11
      Case;

(c)   investigate and analyze any claims belonging to the Debtor’s estate;

(d)   assist the Committee in analyzing the claims of the Debtor’s creditors and in
      negotiating with holders of claims;

(e)   assist the Committee in its investigation of the acts, conduct, assets, liabilities and
      financial condition of the Debtor and related entities and of the operation of the
      Debtor’s affairs;

(f)   assist the Committee in its analysis of, and negotiations with, the Debtor or any
      third party, concerning matters related to, among other things, the assumption or
      rejection of certain leases of non-residential real property and executory contracts,
      asset dispositions, asset sale transactions, other transactions and the terms of one
      or more plans of reorganization and/or liquidation for the Debtor and
      accompanying disclosure statements and related plan documents;

(g)   assist and advise the Committee as to its communications to the general creditor
      body regarding significant matters in the Chapter 11 Case;

(h)   represent the Committee at all hearings and other proceedings before the Court;

(i)   review and analyze applications, orders, statements of operations and schedules
      filed with the Court and advise the Committee as to their propriety and, to the
      extent deemed appropriate by the Committee, support, join or object thereto;

(j)   assist the Committee in preparing pleadings and applications as may be necessary
      in furtherance of the Committee’s interests and objectives;

(k)   assist the Committee in its review and analysis of the Debtor’s various
      agreements;

(l)   prepare, on behalf of the Committee, any pleadings, including, without limitation,
      motions, memoranda, complaints, adversary complaints, objections or comments
      in connection with any matter related to the Debtor or the Chapter 11 Case; and

(m)   perform such other legal services as may be required or are otherwise deemed to
      be in the interests of the Committee and its constituency in accordance with the
      Committee’s powers and duties as set forth in the Bankruptcy Code, Bankruptcy
      Rules or other applicable law.




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          9.     Because of the extensive legal services that the Committee requires in connection

with the Chapter 11 Case, and the fact that the full nature and extent of such services are not known

at this time, the Committee believes that the employment of Akin Gump to provide the services

described above, and such other services as may be necessary for the Committee to satisfy its

obligations to the Debtor’s unsecured creditor constituency, is appropriate and in the best interests

of the Debtor’s estate and its unsecured creditors.

                                  AKIN GUMP’S QUALIFICATIONS

          10.    The Committee seeks to retain Akin Gump due to Akin Gump’s (i) extensive

knowledge and expertise in the myriad areas of law relevant to the Chapter 11 Case and

(ii) familiarity with, and general knowledge regarding, the Debtor and the Debtor’s unsecured

creditors as a result of Akin Gump’s prior representation of the Sandy Hook Families4 both in the

Chapter 11 Case and the subchapter V cases of certain companies owned and/or operated by the

Debtor.

          11.    Akin Gump is recognized as one of the premier firms in the nation representing

official creditors’ committees and various other parties in interest in connection with complex

bankruptcy matters of all kinds. Akin Gump is currently representing and/or has represented

official creditors’ committees in many significant chapter 11 cases, including, but not limited to,

the following: In re Achaogen, Inc.; In re Brooks Brothers Group, Inc.; In re Diamond Offshore

Drilling, Inc.; In re EMAS Chiyoda Subsea Ltd.; In re Emerald Oil, Inc.; In re Endo International

plc; In re Friendly Ice Cream Corp.; In re Global Eagle Entertainment Inc.; In re GWG Holdings,

Inc.; In re HONX, Inc.; In re iHeartMedia, Inc.; In re Insys Therapeutics, Inc.; In re Mallinckrodt


4
 “Sandy Hook Families” means (i) Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa and Marcel
Fontaine (the “Texas Plaintiffs”) and (ii) David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole
Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William
Aldenberg, William Sherlach and Robert Parker (the “Connecticut Plaintiffs”).


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plc; In re Nine West Holdings, Inc.; In re Pipeline Health System, LLC; In re Purdue Pharma L.P.;

In re Sears Holding Corporation; In re Strike LLC; In re Southern Foods Group, LLC; In re TPC

Group Inc.; and In re Vanguard Natural Resources, LLC.

        12.     Moreover, Akin Gump has familiarity with and general knowledge regarding the

Debtor and its unsecured creditors as a result of Akin Gump’s prior representation of the Sandy

Hook Families. Specifically, Akin Gump provided specialized bankruptcy advice to the Texas

Plaintiffs on a pro bono basis, in the now dismissed subchapter V cases of InfoW, LLC and certain

other companies owned and/or operated by the Debtor, which were defendants, along with the

Debtor, in litigation brought by certain of the Sandy Hook Families (the “InfoWars Cases”).5 In

addition, Akin Gump previously represented the Sandy Hook Families, also on a pro bono basis,

in both: (i) the subchapter V case of Free Speech Systems, LLC,6 a single member LLC in which

100% of the outstanding membership interests are owned by the Debtor, which also is a defendant

in litigation brought by the Sandy Hook Families in Connecticut and Texas (the “FSS Case” and,

together with the InfoWars Cases, the “Related Cases”) and (ii) this Chapter 11 Case. As discussed

in further detail herein, Akin Gump has withdrawn from its representation of the Sandy Hook

Families in each of this Chapter 11 Case and the FSS Case and will file notices of such withdrawals

in the near term.

        13.     In light of the foregoing, the Committee believes that Akin Gump is well qualified

to represent the Committee in the Chapter 11 Case and submits that the Committee’s employment

of Akin Gump is appropriate and in the best interests of the Debtor’s unsecured creditors.




5
  In re InfoW, LLC, No. 22-60020 (Bankr. S.D. Tex. 2022); In re IWHealth, LLC, No. 22-60021 (Bankr. S.D. Tex.
2022); In re Prison Planet TV, LLC, No. 22-60022 (Bankr. S.D. Tex. 2022).
6
  In re Free Speech Systems, LLC, No. 22-60043 (Bankr. S.D. Tex. 2022).


                                                     6
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                             PROFESSIONAL COMPENSATION

       14.     As noted supra, and in recognition of the unique and important circumstances of

this Chapter 11 Case, Akin Gump has agreed to serve as counsel to the Committee on a pro bono

basis, with one contingent qualification: Akin Gump reserves the right to seek allowance under the

applicable rules of all actual, reasonable and necessary fees and expenses incurred in connection

with this representation in the event that the Debtor obtains confirmation of a chapter 11 plan or

other resolution of the Chapter 11 Case that is not supported by the Committee. In that event, all

fees and expenses authorized by the Court and paid by the Debtor’s estate to Akin Gump in

connection with this representation will be contributed to the Debtor’s unsecured creditors.

       15.     Notwithstanding the foregoing agreement by Akin Gump, the Committee requests

that all fees and related costs and expenses incurred by the Committee on account of services

rendered by Akin Gump in the Chapter 11 Case be treated as administrative expenses of the

Debtor’s estate pursuant to Bankruptcy Code sections 328, 330, 331, 503(b) and 507(a)(2), subject

to approval by the Court when, and if, payment of such fees is requested by the Committee. For

the avoidance of doubt, Akin Gump will not be seeking current payment of such fees and expenses

on a monthly or interim basis, but reserves the right to seek allowance of such fees and expenses

at any time prior to the conclusion of the Chapter 11 Case for the sole purpose of contributing any

and all allowed amounts to the Debtor’s unsecured creditors.

       16.     Subject to Court approval and the terms set forth herein, Akin Gump will charge

for its legal services on an hourly basis in accordance with its ordinary and customary hourly rates

in effect on the date such services are rendered in accordance with Bankruptcy Code sections 328,

330 and 331. In light of the unique facts and circumstances of the Chapter 11 Case, and specifically

Akin Gump’s agreement to be retained as Committee counsel on a pro bono basis and the terms

described herein, Akin Gump requests a waiver of its obligations to apply for compensation and

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reimbursement of expenses on a monthly basis in accordance with the procedures set forth in

Bankruptcy Code sections 330 and 331, the applicable Bankruptcy Rules, the applicable Local

Rules and any other applicable order of the Court. Akin Gump also requests a waiver of

compliance with the United States Trustee’s Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 for Attorneys in

Larger Chapter 11 Cases, 78 Fed. Reg. 36248, effective as of November 1, 2013 (the “U.S. Trustee

Guidelines”), in connection with interim and final fee applications.                           Notwithstanding the

foregoing, Akin Gump will provide the Committee, the Debtor and the U.S. Trustee with monthly

summary invoices of the fees and expenses incurred by Akin Gump in connection with its

representation of the Committee.

         17.      Akin Gump’s hourly rates are subject to periodic adjustments (typically in January

of each year) to reflect economic and other conditions.7 Akin Gump’s 2022 and 2023 standard

hourly rates for professionals and paraprofessionals employed in its domestic offices are provided

below:

         Billing Category                            2022 Range                              2023 Range
             Partners                               $1,125–1,995                        $1,300.00–$2,145.00
          Senior Counsel                            $845–$1,415                          $940.00–$1,550.00
             Counsel                                $990–$1,225                         $1,120.00–$1,500.00
            Associates                              $605–$1,045                          $735.00–$1,175.00
         Paraprofessionals                           $215–$475                           $215.00–$510.000




7
  For example, like many of its peer law firms, Akin Gump typically increases the hourly billing rate of attorneys and
paraprofessionals periodically in the form of: (i) step increases historically awarded in the ordinary course on the basis
of advancing in seniority and promotion; and (ii) periodic increases within each attorney’s and paraprofessional’s
current level of seniority. The step increases do not constitute “rate increases” (as the term is used in the U.S. Trustee
Guidelines). While the rate ranges provided for herein may change if an individual leaves or joins Akin Gump, and
if any such individual’s billing rate falls outside the ranges disclosed above, Akin Gump does not intend to update the
ranges for such circumstances.


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         18.      It is Akin Gump’s policy to charge its clients in all areas of practice for expenses

incurred in connection with its representation of a client. The expenses charged to clients include,

among other things, photocopying charges, travel expenses, expenses for “working meals” and

computerized research. Akin Gump will maintain detailed records of actual and necessary costs

and expenses incurred in connection with the legal services provided to the Committee, but will

not bill the Debtor’s estate for such expenses during the pendency of the Chapter 11 Case subject

to the foregoing qualifications.

                                         NO ADVERSE INTEREST

         19.      The Committee takes seriously and is keenly focused on the Court’s statements

during the December 19, 2022 hearing regarding the Committee’s fiduciary duties. As the Court

stressed, “fiduciary duties . . . are incredibly important” and that here, at times, there may be

“overlap” in the interests of the Committee and the Sandy Hook Families.8 Indeed, the members

of the Committee understand they will be “wearing multiple hats and it’s really important that they

listen to the advice of counsel . . . as [counsel] advise[s] them on their particular roles.”9 Akin

Gump is highly sophisticated in advising official creditors’ committees and is intimately familiar

with the fiduciary duties of committee members and estate professionals. Indeed, Akin Gump has

reported and explained to the Committee the import of the Court’s comments, and will work

closely with the Sandy Hook Families and their co-counsel to ensure that members of the

Committee understand their roles on the Committee.10



8
  Dec. 19, 2022 Hearing Tr. 18:5-21.
9
  Id.
10
   Significantly, the Connecticut Plaintiffs and Texas Plaintiffs each have separate counsel representing them in this
Chapter 11 Case and the FSS Case; and thus each group has obtained and will continue to obtain independent advice
regarding their role as members of the Committee. The Connecticut Plaintiffs have retained Paul, Weiss, Rifkind,
Wharton & Garrison LLP as bankruptcy counsel and the Texas Plaintiffs have retained Chamberlain, Hrdlicka, White,
Williams & Aughtry, PC as bankruptcy counsel, along with their respective individual tort counsel.


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         20.       Upon information and belief, and as set forth in the Zensky Declaration, Akin Gump

does not represent and does not hold any interest adverse to the Debtor’s estate or its creditors in

the matters upon which Akin Gump is to be engaged. Akin Gump is, however, a large firm with a

national and international practice and may represent or may have represented certain of the

Debtor’s creditors, related parties or other parties in interest in matters unrelated to the Chapter 11

Case.

         21.       As discussed in more detail in the Zensky Declaration, Akin Gump previously

represented the Texas Plaintiffs and the Sandy Hook Families, as applicable, in the Chapter 11

Case and the other Related Cases, but is no longer representing the Sandy Hook Families in

connection therewith during the pendency of the Chapter 11 Case. For the avoidance of doubt, the

Committee does not believe that Akin Gump’s continued representation of the Sandy Hook

Families in this Chapter 11 Case or the FSS Case would have presented an “adverse interest” under

Bankruptcy Code section 1103(b), which provides:

                   An attorney or accountant employed to represent a committee
                   appointed under section 1102 of this title may not, while employed by
                   such committee, represent any other entity having an adverse interest
                   in connection with the case. Representation of one or more creditors
                   of the same class as represented by the committee shall not per se
                   constitute the representation of an adverse interest.

11 U.S.C. § 1103(b) (emphasis added).11 However, out of an abundance of caution, and to avoid

any appearance of conflict, Akin Gump has withdrawn from its representation of the Sandy Hook


11
   See also In re Nat’l Liquidators, 182 B.R. 186, 192–93 (S.D. Ohio 1995) (“By eliminating the per se bar to dual
representation in 1984, Congress implicitly determined that the inherent tension between a committee and one of its
creditors, standing alone, was immaterial and any conflict too theoretical to warrant being classified as an adverse
interest. That is, merely the remote potential for dispute, strife, discord, or difference between a committee and one
of its creditors does not give rise to any conflict of interest or appearance of impropriety that would bar an attorney
from representing both parties.”). Indeed, Congress added the second sentence to Bankruptcy Code section 1103(b)
in 1984 “to permit professionals retained by a creditors’ committee to represent particular creditors in the case so long
as the interest of the other creditor was not an interest adverse to that of creditors generally” and to further the goal of
ensuring competent representation for committees and the committee’s right to choose counsel of its choice. See id.
at 191; 7 COLLIER ON BANKRUPTCY ¶ 1103.LH (16th 2022).


                                                            10
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Families in each of this Chapter 11 Case and the FSS Case and will file notices of such withdrawals

in the near term. The Committee submits that Akin Gump’s prior representation of the Texas

Plaintiffs in the InfoWars Cases and the Sandy Hook Families in this Chapter 11 Case and the FSS

Case does not constitute an adverse interest under Bankruptcy Code section 1103.12

                                    NO DUPLICATION OF SERVICES

         22.      All proposed Committee professionals are cognizant of the need to manage any fees

and expenses incurred in this Chapter 11 Case. While Akin Gump is the only law firm currently

contemplated to be retained by the Committee, Akin Gump will use reasonable efforts to avoid

any duplication of services between and among any of the Committee’s other retained

professionals in the Chapter 11 Case.

                         RELIEF EFFECTIVE AS OF DECEMBER 19, 2022

         23.      The Committee believes that the employment of Akin Gump effective as of

December 19, 2022, the date the Committee selected Akin Gump as its proposed counsel, is

warranted under the circumstances of the Chapter 11 Case. Upon its selection, the Committee

requested Akin Gump to commence work immediately on time-sensitive matters and devote

substantial resources to the Chapter 11 Case prior to the submission and approval of this

Application. Thus, Akin Gump has provided, and will continue to provide, valuable services to

the Committee. Furthermore, Local Rule 2014-1(b)(1) provides that an application for approval


12
  See, e.g., In re Buran, 363 B.R. 358, 360–61 (Bankr. W.D.N.Y. 2007) (finding that law firm that represented doctors
who had worked with chapter 11 debtor and that had filed claims on doctors’ behalf against debtor’s estate was not
disqualified from representing an official committee of unsecured creditors that was composed of same doctors, and
approving the committee’s retention of the firm over the debtor’s objection); see also, e.g., In re Whitman, 101 B.R.
37, 39 (Bankr. N.D. Ind. 1989) (“This court . . . holds that the simultaneous representation of a [secured] creditor...and
the unsecured creditors committee is, as a matter of law, a conflict of interest prohibited by § 1103(b) . . . This does
not mean, however, that the order approving counsel’s employment must be vacated. Since it is the simultaneous
representation which is condemned, the situation can be resolved in one of two ways. Counsel can either cease
representing his creditor/client or cease representing the committee. This is the way in which the same dilemma was
resolved prior to the amendment of § 1103(b). Counsel, the creditor, and the committee should be given their choice
as to which path will be taken.”).


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of employment made within thirty (30) days of the commencement of the provision of services is

deemed contemporaneous. Nonetheless, the Committee is requesting approval as of December

19, 2022 out of an abundance of caution.

                                     NO PRIOR REQUEST

         24.   No prior request for the relief sought herein has been made to the Court or any other

court.

                                             NOTICE

         25.   Notice of this Application has been provided to: (i) the U.S. Trustee; (ii) counsel to

the Debtor; and (iii) all parties requesting notice under Bankruptcy Rule 2002. Due to the nature

of the relief requested herein, the Committee submits that no other or further notice need be

provided.


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                                       CONCLUSION

       WHEREFORE, the Committee respectfully requests that the Court (i) enter an order,

substantially in the form attached hereto as Exhibit A, authorizing the Committee to retain and

employ Akin Gump as its counsel, effective as of December 19, 2022 and (ii) provide the

Committee with such other and further relief as the Court may deem just, proper and equitable.



Dated: January 18, 2023              THE OFFICIAL COMMITTEE OF UNSECURED
                                     CREDITORS OF ALEXANDER E. JONES

                                     /s/ Leonard Pozner
                                     Leonard Pozner, solely in his capacity as Co-Chair of the
                                     Official Committee of Unsecured Creditors of Alexander
                                     E. Jones and not in any other capacity

                                     /s/ Robert Parker
                                     Robert Parker, solely in his capacity as Co-Chair of the
                                     Official Committee of Unsecured Creditors of Alexander
                                     E. Jones and not in any other capacity




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                               CERTIFICATE OF SERVICE

       I certify that on January 18, 2023, I caused a copy of the foregoing document to be served

by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern

District of Texas.

                                                    /s/ Marty L. Brimmage, Jr.
                                                    Marty L. Brimmage, Jr.
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                           EXHIBIT A

                         Proposed Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ALEXANDER E. JONES,                                              ) Case No. 22-33553 (CML)
                                                                     )
                              Debtor.                                )
                                                                     )

                   ORDER AUTHORIZING THE OFFICIAL COMMITTEE
                  OF UNSECURED CREDITORS OF ALEXANDER E. JONES
                 TO RETAIN AND EMPLOY AKIN GUMP STRAUSS HAUER &
               FELD LLP AS COUNSEL, EFFECTIVE AS OF DECEMBER 19, 2022

             Upon the application (the “Application”)1 of the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the chapter 11 case of Alexander E. Jones (the “Debtor,”

and such case, the “Chapter 11 Case”) for entry of an order, pursuant to sections 328(a) and 1103(a)

of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014 and 2016 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2014-1 and 2016-1 of the

Local Rules of Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the

Southern District of Texas (the “Local Rules”) authorizing the Committee to retain and employ

Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) as its counsel in connection with the

Chapter 11 Case, effective as of December 19, 2022; and upon the declaration of David M. Zensky,

a partner of Akin Gump (the “Zensky Declaration”) and the declaration of Leonard Pozner and

Robert Parker, each in his capacity as co-chair of the Committee (the “Pozner and Parker

Declaration” and, together with the Zensky Declaration, the “Declarations”); and it appearing that

the attorneys of Akin Gump who will perform services on behalf of the Committee in the Chapter

11 Case are duly qualified to practice before the Court; and the Court finding, based on the


1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
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representations made in the Application and the Declarations, that Akin Gump does not represent

any interest adverse to the Committee or the Debtor’s estate with respect to the matters upon which

it is to be engaged, that it is a “disinterested person,” as that term is defined in Bankruptcy Code

section 101(14), as modified by Bankruptcy Code section 1107(b), that its employment is

necessary and in the best interests of the Committee and the Debtor’s estate; and finding that

adequate notice of the Application having been given; and it appearing that no other notice need

be given; and after due deliberation and sufficient cause appearing therefor, it is hereby

ORDERED THAT:

       1.      The relief requested in the Application is granted as set forth herein.

       2.      In accordance with Bankruptcy Code sections 328 and 1103(a), Bankruptcy Rules

2014 and 2016 and Local Rules 2014-1 and 2016-1, the Committee is hereby authorized and

empowered to retain and employ Akin Gump as its counsel to represent it in the Chapter 11 Case

and related matters and proceedings on the terms set forth in the Application and the Declarations,

effective as of December 19, 2022.

       3.      In light of the unique facts and circumstances of the Chapter 11 Case and Akin

Gump’s retention by the Committee on a pro bono basis, Akin Gump shall not be required to apply

for compensation on a monthly or interim basis in accordance with the procedures set forth in

Bankruptcy Code sections 330 and 331, the applicable Bankruptcy Rules, the applicable Local

Rules and any other applicable order of the Court. In addition, Akin Gump shall be excused from

complying with the U.S. Trustee Guidelines in connection with interim and final fee applications.

Notwithstanding the foregoing, Akin Gump will provide the Committee, the Debtor and the U.S.

Trustee with monthly summary invoices of the fees and expenses incurred by Akin Gump in

connection with its representation of the Committee.



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       4.      In the event that the Debtor obtains confirmation of a chapter 11 plan or other

resolution of the Chapter 11 Case that is not supported by the Committee, Akin Gump shall be

entitled to seek approval by this Court and payment by the Debtor, in accordance with all

applicable rules, of all fees and related costs and expenses incurred by the Committee on account

of services rendered by Akin Gump in connection with the Chapter 11 Case prior to the conclusion

of the Chapter 11 Case.

       5.      Akin Gump shall provide ten (10) business days’ notice to the Debtor and the U.S.

Trustee before any increases in rates are implemented, other than with respect to those rates set

forth in the Application and the Zensky Declaration, and shall file such notice with the Court.

Except with respect to those rates set forth in the Application and the Zensky Declaration, the U.S.

Trustee retains all rights to object to any rate increase on all grounds, including the reasonableness

standard set forth in Bankruptcy Code section 330, and the Court retains the right to review any

rate increase pursuant to Bankruptcy Code section 330.

       6.      Akin Gump shall use its reasonable efforts to avoid any duplication of services

provided by any of the Committee’s other retained professionals in the Chapter 11 Case.

       7.      Akin Gump will review its files periodically during the pendency of the Chapter 11

Case to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Akin Gump will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).

       8.      The Committee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this order in accordance with the Application.




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       9.      To the extent the Application is, or the Declarations are, inconsistent with this

Order, the terms of this Order shall govern.

       10.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       11.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.



Dated: ___________

                                               ______________________________________
                                               THE HONORABLE CHRISTOPHER M. LOPEZ
                                               UNITED STATES BANKRUPTCY JUDGE




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                           EXHIBIT B


                        Zensky Declaration
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ALEXANDER E. JONES,                                              ) Case No. 22-33553 (CML)
                                                                     )
                              Debtor.                                )
                                                                     )

                       DECLARATION OF DAVID M. ZENSKY IN SUPPORT
                     OF THE APPLICATION OF THE OFFICIAL COMMITTEE
                     OF UNSECURED CREDITORS OF ALEXANDER E. JONES
                    TO RETAIN AND EMPLOY AKIN GUMP STRAUSS HAUER &
                  FELD LLP AS COUNSEL, EFFECTIVE AS OF DECEMBER 19, 2022

             Under 28 U.S.C. § 1746, I, David M. Zensky, declare as follows under the penalty of

perjury:

             1.      I am an attorney admitted to practice in the State of New York and have been

admitted pro hac vice to the United States Bankruptcy Court for the Southern District of Texas,

Houston Division, for purposes of the Chapter 11 Case.1

             2.      I am a partner of the firm of Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”).

Akin Gump maintains offices at, among other places, One Bryant Park, New York, New York

10036 and 1111 Louisiana Street, Houston, Texas 77002. There are no disciplinary proceedings

pending against me.

             3.      I am familiar with the matters set forth herein and make this declaration

(the “Declaration”) in support of the application (the “Application”) of the Official Committee of

Unsecured Creditors (the “Committee”) of Alexander E. Jones (the “Debtor”) seeking approval to

retain and employ Akin Gump as counsel to the Committee.


1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
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         4.       On December 13, 2022, pursuant to Bankruptcy Code section 1102, the Office of

the United States Trustee for the Southern District of Texas (the “U.S. Trustee”) appointed six of

the Debtor’s unsecured creditors to serve as members of the Committee.2 On December 19, 2022,

the Committee selected Akin Gump to serve as its counsel, subject to Court approval. On January

5, 2023, the Committee selected Nardello & Co. (“Nardello”), subject to Court approval, to aid in

its review of the Debtor’s estate and prepetition transactions, and is working to select a general

financial advisor to the Committee in the very near term.3

         5.       I am not, nor is Akin Gump, an insider of the Debtor. Neither Akin Gump nor I

hold directly any claim or debt of the Debtor.

         6.       To the best of my knowledge and information, no partner or employee of Akin

Gump has been, within two years from the Petition Date, a director, officer or employee of the

Debtor as specified in Bankruptcy Code section 101(14)(B).

         7.       Akin Gump does not have an interest materially adverse to the interests of the

Debtor’s estate or of any class of creditors, by reason of any direct or indirect relationship to,

connection with or interest in, the Debtor, as specified in Bankruptcy Code section 101(14)(C) or

for any other reason.

         8.       Akin Gump does not currently represent any Debtor or, to the best of my knowledge

and information, any of his related parties, affiliates and/or partners, if applicable. Moreover,

except as further described herein, Akin Gump has not undertaken, and will not undertake, the

representation of any party other than the Committee in connection with the Chapter 11 Case.


2
  See Notice of Appointment of Official Committee of Unsecured Creditors, dated December 13, 2022 [ECF No. 42].
3
  Nardello has informed Akin Gump that they appreciate the unique nature of this Chapter 11 Case and the importance
of the issues raised. As such, Nardello has agreed to render its services on an entirely pro bono basis, subject to the
terms set forth in its retention application, which will be filed in the near term. Similarly, Akin Gump will work with
the Committee to ensure that any financial advisor selected by the Committee will render its services to the Committee
at a significant discount to its standard rates, subject to the terms set forth in its retention application.

                                                          2
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        9.       To the best of my knowledge and information, Akin Gump neither holds nor

represents any interest adverse to the Committee, the Debtor, his known creditors or other parties

in interest or their respective attorneys in the Chapter 11 Case. Based upon information available

to me, I believe that Akin Gump is a “disinterested person” within the meaning of Bankruptcy

Code section 101(14).

        10.      In preparing this Declaration, through my colleagues, I submitted to Akin Gump’s

computerized client and conflict database (the “Conflict Database”) the names set forth on a list

of parties in interest identified by the Debtor, as well as the names of certain additional parties

identified by Akin Gump, which are categorized for ease of reference. A copy of the list of the

parties searched by Akin Gump is attached hereto as Schedule 1 (collectively, the “Searched

Parties”).4

        11.      The Conflict Database maintained by Akin Gump is designed to include every

matter on which the firm is now and has been engaged, by which entity the firm is now or has been

engaged and, in each instance, the identity of certain related parties and adverse parties and certain

of the attorneys in the firm that are knowledgeable about the matter. It is the policy of Akin Gump

that no new matter may be accepted or opened within the firm without completing and submitting

to those charged with maintaining the Conflict Database the information necessary to check each

such matter for conflicts, including the identity of the prospective client, the matter and related and

adverse parties. Accordingly, Akin Gump maintains and systematically updates this system in the




4
  Akin Gump’s inclusion of parties on Schedule 1 (and the categorization thereof), which is based on information
provided by the Debtor, is solely to illustrate Akin Gump’s conflict search process and is not an admission that any
party has a valid claim against the Debtor or that any party properly belongs on Schedule 1 or has a claim or legal
relationship to the Debtor of the nature described in any of the schedules. In some instances, Schedule 1 may not
disclose the full legal name of the relevant entity. When the names of the entities reviewed were incomplete or
ambiguous, the scope of the search was intentionally broad and inclusive, and Akin Gump reviewed each entity in its
Conflicts Database to the extent feasible.

                                                         3
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regular course of business of the firm, and it is the regular practice of the firm to make and maintain

these records.

                          REPRESENTATION OF PARTIES IN INTEREST

         12.      Set forth on Schedule 2 attached hereto is a list of the Searched Parties from

Schedule 1 that Akin Gump either (i) currently represents (or represents a related party of the

Searched Party) (the “Current Clients”) in matters unrelated to the Chapter 11 Case or (ii) has, in

the past three calendar years, represented (or represented a related party of the Searched Party) in

matters wholly unrelated to the Chapter 11 Case (the “Former Clients”).5 In connection with the

services to be rendered to the Committee, Akin Gump will not commence a cause of action against

any Current Client with respect to the Chapter 11 Case unless Akin Gump has received a waiver

from the Current Client allowing Akin Gump to commence such an action. In connection with the

Chapter 11 Case, to the extent any causes of action are commenced by or against any Current

Client, and a waiver is not obtained permitting Akin Gump to participate in such action, the

Committee will retain conflicts counsel to represent the Committee in connection therewith.




5
  For purposes of the disclosures set forth herein, Akin Gump has searched for connections with clients with whom
time has been posted in the last three calendar years. “Current Clients” are those clients (or related parties thereof) in
which the Conflicts Database shows that one or more timekeepers have posted time to such client matters in the last
12 months and are not listed in the Conflicts Database as “closed” matters. “Former Clients” are those clients in which
the Conflict Database shows that Akin Gump previously represented such clients (or related parties thereof) within
the last three calendar years and (i) no time has been posted to such client matters in the last 12 months or (ii) such
client matters are otherwise listed as “closed” within the Conflicts Database. To the extent that a client (or related
party thereof) is both a Current Client and a Former Client on separate matters, such client is listed only once on
Schedule 2 as a Current Client. Notwithstanding the foregoing, whether an actual client relationship exists can only
be determined by reference to the documents governing Akin Gump’s representation rather than its potential listing
in the Conflicts Database. As such, for purposes of the disclosures set forth herein, some of the disclosures set forth
herein and on Schedule 2 may be over-inclusive.

                                                            4
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                                           SPECIFIC DISCLOSURES

A.         Connections with Parties Representing 1% or More of Akin Gump’s Revenue for
           2022

           13.      At the inception of each engagement for which a declaration is required pursuant

to Bankruptcy Rule 2014, Akin Gump reviews the information relating to the parties involved in

a bankruptcy case to determine whether any such party, together with its known related entities,

were clients of Akin Gump and made payments to Akin Gump for services rendered in the calendar

year prior to the date of review that in the aggregate for each such party exceeds 1% of Akin

Gump’s total revenues for such calendar year.

           14.      With the exception of AT&T Corp. (together with its affiliates, “AT&T”) described

below,6 Akin Gump’s revenues for services rendered on behalf of each of the parties in interest

identified on Schedule 2 make up, in the aggregate, with respect to each such party in interest, less

than 1% of Akin Gump’s annual revenue in calendar year 2022.

           15.      Akin Gump currently represents and has formerly represented AT&T in numerous

matters wholly unrelated to the Chapter 11 Case. The total fees received from AT&T represented

more than 1% of Akin Gump’s 2022 revenue.

B.         Connections with Members of the Official Committee of Unsecured Creditors

           16.      As further discussed below, Akin Gump provided specialized bankruptcy advice to

the Texas Plaintiffs in connection with the now dismissed subchapter V cases of InfoW, LLC and

certain other companies owned and/or operated by the Debtor, which were defendants, along with




6
    Specific percentages will be disclosed to the U.S. Trustee and/or counsel to the Debtor, upon request.

                                                            5
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the Debtor, in litigation brought by certain of the Sandy Hook Families7 (the “InfoWars Cases”).8

Akin Gump also previously represented the Sandy Hook Families in (i) the subchapter V case of

Free Speech Systems, LLC, a single member LLC in which 100% of the outstanding membership

interests are owned by the Debtor, which also is a defendant in litigation brought by the Sandy

Hook Families in Connecticut and Texas (the “FSS Case”9 and, together with the InfoWars Cases,

the “Related Cases”) and (ii) this Chapter 11 Case.10 The Sandy Hook Families include, among

other individuals, each of the Committee members. As stated in the Application, Akin Gump has

withdrawn from its representation of the Sandy Hook Families in each of this Chapter 11 Case and

the FSS Case and will file notices of such withdrawals in the near term. As such, Akin Gump

previously represented each of the members of the Committee, in an individual capacity, as part

of Akin Gump’s Sandy Hook Representation. Except for the Sandy Hook Representation, Akin

Gump currently does not represent, and has not in the past represented, any Committee member in

its individual capacity.

C.      Akin Gump’s Representation of the Sandy Hook Families

        17.      As noted above, Akin Gump previously provided specialized bankruptcy advice to

the Texas Plaintiffs and represented the Sandy Hook Families as bankruptcy counsel, each on a

pro bono basis, in connection with the Chapter 11 Case and the Related Cases. Each of the

individuals that comprise the Sandy Hook Families, that are not members of the Committee, are




7
  “Sandy Hook Families” means (i) Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa and Marcel
Fontaine (the “Texas Plaintiffs”) and (ii) David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole
Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William
Aldenberg, William Sherlach and Robert Parker (the “Connecticut Plaintiffs”).
8
  In re InfoW, LLC, No. 22-60020 (Bankr. S.D. Tex. 2022); In re IWHealth, LLC, No. 22-60021 (Bankr. S.D. Tex.
2022); In re Prison Planet TV, LLC, No. 22-60022 (Bankr. S.D. Tex. 2022).
9
  In re Free Speech Systems, LLC, No. 22-60043 (Bankr. S.D. Tex. 2022).
10
   Such representations are referred to collectively as the “Sandy Hook Representation.”

                                                        6
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listed on Schedule 1 as Other Potential Parties in Interest in this Chapter 11 Case.11 As further

described below, in May 2022, Akin Gump began its prior representation of the Texas Plaintiffs in

connection with InfoWars Cases. Thereafter, Akin Gump began its prior representation of the

Sandy Hook Families in connection with the FSS Case and this Chapter 11 Case. Generally, Akin

Gump previously provided specialized bankruptcy-related advice to the Texas Plaintiffs and the

Sandy Hook Families, as applicable, in connection with the foregoing cases. The Sandy Hook

Families, comprising the Texas Plaintiffs and the Connecticut Plaintiffs, however, are separately

represented by other counsel in these matters with respect to bankruptcy issues and in connection

with state court litigations.12

        18.      The InfoWars Cases: In May 2022, Akin Gump began advising the Texas Plaintiffs,

on a pro bono basis, in connection with the InfoWars Cases. On June 10, 2022, the InfoWars Cases

were dismissed.13 During the pendency of the InfoWars Cases, Akin Gump advised the Texas

Plaintiffs on an ad hoc basis, meeting with the Texas Plaintiffs’ counsel only a handful of times

and attending certain hearings.

        19.      The FSS Case: On July 29, 2022, Free Speech Systems, LLC filed a petition under

subchapter V of chapter 11 of the Bankruptcy Code. The Debtor owns 100% of the outstanding

membership interests in FSS. The FSS Case is currently pending before this Court, and Akin

Gump represented the Sandy Hook Families in connection with the FSS Case as bankruptcy




11
   Specifically, the Neil Heslin, Veronique De La Rosa, Marcel Fontaine, Francine Wheeler, Jacqueline Barden, Mark
Barden, Ian Hockley, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg and
William Sherlach.
12
   See Verified Rule 2019 Statement, dated December 7, 2022 [ECF No. 22] (disclosing the representation of the Texas
Plaintiffs by certain law firms, and Akin Gump’s role in providing advice in connection with the Chapter 11 Case on
a strictly pro bono basis); Verified Rule 2019 Statement, dated December 9, 2022 [ECF No. 28] (describing the
representation of the Connecticut Plaintiffs by certain law firms, and Akin Gump’s role in providing advice in
connection with the Chapter 11 Case on a strictly pro bono basis).
13
   See In re InfoW, LLC, No. 22-60020 (Bankr. S.D. Tex. 2022) [ECF No. 114].

                                                         7
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counsel on a pro bono basis. In connection with the FSS Case, Akin Gump advised and represented

the Sandy Hook Families with respect to various bankruptcy-specific matters, including, among

other things: (i) the Debtor’s Emergency Motion for an Interim and Final Orders (I) Authorizing

the Use of Cash Collateral Pursuant to Sections 105, 361, and 363 of the Bankruptcy Code and

Federal Rule of Bankruptcy Procedure 4001(B) and (II) Granting Adequate Protection to the

Prepetition Secured Lender, No. 22-60043 (Bankr. S.D.T.X. Jul. 29, 2022) [ECF No. 6]; (ii) FSS’s

motions to retain various professionals; (iii) the Sandy Hook Families’ Motion to (I) Appoint Tort

Claimants Committee and (II) Remove the Debtor in Possession, No. 22-60043 (Bankr. S.D.T.X.

August 25, 2022) [ECF No. 102]; (iv) lift stay briefing and resolution; (v) analysis of potential

estate claims; and (vi) preparing for and conducting interviews of FSS’s then-Chief Restructuring

Officer. Akin Gump also represented the Sandy Hook Families in connection with the ongoing

mediation in the FSS Case before Judge Marvin Isgur.14

        20.      The Chapter 11 Case: On December 2, 2022, the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code.15 In connection with the Chapter 11 Case, in

its role as bankruptcy counsel to the Sandy Hook Families, Akin Gump advised the Sandy Hook

Families regarding various bankruptcy-related matters and strategy related thereto, including in

connection with the mediation.

        21.      Akin Gump takes seriously and is keenly focused on the Court’s statements during

the December 19, 2022 hearing regarding the Committee’s fiduciary duties. As the Court stressed,

“fiduciary duties . . . are incredibly important” and that here, at times, there may be “overlap” in

the interests of the Committee and the Sandy Hook Families.16 Indeed, the members of the


14
   See Stipulation and Agreed Order, dated October 12, 2022 [ECF No. 233].
15
   In re Alexander E. Jones, No. 22-33553 (Bankr. S.D. Tex. 2022).
16
   Dec. 19, 2022 Hearing Tr. 18:5-21.

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Committee understand they will be “wearing multiple hats and it’s really important that they listen

to the advice of counsel . . . as [counsel] advise[s] them on their particular roles.”17

        22.      Akin Gump is highly sophisticated in advising official creditors’ committees and is

intimately familiar with the fiduciary duties of committee members and estate professionals.

Indeed, Akin Gump has reported and explained to the Committee the import of the Court’s

comments, and will work closely with the Sandy Hook Families and their co-counsel to ensure

that members of the Committee understand their roles on the Committee.18

        23.      For the avoidance of doubt, I do not believe that Akin Gump’s continued

representation of the Sandy Hook Families in this Chapter 11 Case or the FSS Case would have

presented an “adverse interest” under Bankruptcy Code section 1103(b). However, out of an

abundance of caution and to avoid any appearance of a conflict, Akin Gump has withdrawn from

its representation of the Sandy Hook Families in each of this Chapter 11 Case and the FSS Case

and will file notices of such withdrawals in the near term. In light of the above, I do not believe

that Akin Gump has an adverse interest to the Debtor under Bankruptcy Code section 1103.

D.      Searched Parties Which Currently Serve, or Have, in the Past Three Calendar Years,
        Served, on Informal and/or Official Creditors’ Committees Represented by Akin
        Gump

        24.      As part of its diverse restructuring practice, Akin Gump routinely represents

informal and official creditors’ committees. In that regard, set forth on Schedule 3 attached hereto

is a listing of those Searched Parties from Schedule 1 and/or certain related parties that currently




17
  Id.
18
  Significantly, the Connecticut Plaintiffs and Texas Plaintiffs each have separate counsel representing them in this
Chapter 11 Case and the FSS Case; and thus each group has obtained and will continue to obtain independent advice
regarding their role as members of the Committee. The Connecticut Plaintiffs have retained Paul, Weiss, Rifkind,
Wharton & Garrison LLP as bankruptcy counsel and the Texas Plaintiffs have retained Chamberlain, Hrdlicka, White,
Williams & Aughtry, PC as bankruptcy counsel, along with their respective individual tort counsel.

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serve, or have served, within the last three calendar years, on informal or official creditors’

committees in chapter 11 cases represented by Akin Gump, excluding the Chapter 11 Case.

E.     Other Connections and General Disclosures

       25.     Akin Gump performed general diligence to determine any connections beyond

what is disclosed in the attached schedules. Akin Gump may have represented in the past and/or

may currently represent or in the future represent entities (other than parties in the attached

schedules) not currently known to Akin Gump in matters unrelated to the Chapter 11 Case who

may be parties in interest in the Chapter 11 Case. In addition, Akin Gump regularly represents

informal groups of creditors of companies that are facing financial distress, which financial distress

may not have been publicly disclosed. Some of these companies may be or become parties in

interest in the Chapter 11 Case. Akin Gump will only represent such informal groups in matters

wholly unrelated to the Chapter 11 Case.

       26.     In addition, to the best of my knowledge, I do not believe there is any connection

between Akin Gump and the U.S. Trustee, any person employed with the U.S. Trustee or any

bankruptcy judge currently serving on the United States Bankruptcy Court for the Southern District

of Texas.

       27.     To the extent that Akin Gump discovers any such information or needs to update

the information disclosed herein, Akin Gump will disclose such information by filing a

supplemental declaration pursuant to Bankruptcy Rule 2014.

       28.     None of Akin Gump’s representations of creditors or other parties in interest who

are involved in the Chapter 11 Case comprise a material component of Akin Gump’s practice, nor

does Akin Gump currently represent such parties on any issue relating to the Chapter 11 Case. For

the reasons stated herein, Akin Gump represents no interests adverse to the Debtor’s individual

creditors or the Committee and, therefore, is capable of fulfilling its duties to the Committee.
                                                 10
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                                   PROFESSIONAL COMPENSATION

         29.      As noted supra, and in recognition of the unique and important circumstances of

this Chapter 11 Case, Akin Gump has agreed to serve as counsel to the Committee on a pro bono

basis, with one contingent qualification: Akin Gump reserves the right to seek allowance under the

applicable rules of all actual, reasonable and necessary fees and expenses incurred in connection

with Akin Gump’s representation of the Committee in this Chapter 11 Case in the event that the

Debtor proposes and obtains confirmation of a chapter 11 plan or other resolution of the Chapter

11 Case that is not supported by the Committee. In that event, all fees and expenses approved by

the Court and paid by the Debtor’s estate to Akin Gump in connection with its representation of

the Committee in the Chapter 11 Case will be contributed to the Debtor’s unsecured creditors.

         30.      In the event that Akin Gump seeks allowance of fees and expenses, Akin Gump will

make appropriate applications to the Court pursuant to Bankruptcy Code sections 330 and 331 for

compensation and reimbursement of out-of-pocket expenses, in accordance with the provisions of

the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and any applicable order of the Court.

Subject to the Court’s approval, Akin Gump will charge for its legal services on an hourly basis in

accordance with its ordinary and customary hourly rates in effect on the date such services are

rendered, subject to Bankruptcy Code sections 328, 330 and 331.

         31.      Akin Gump’s hourly rates are subject to periodic adjustments (typically in January

of each year) to reflect economic and other conditions.19 Akin Gump’s 2022 and 2023 standard




19
  For example, like many of its peer law firms, Akin Gump typically increases the hourly billing rate of attorneys and
paraprofessionals periodically in the form of: (i) step increases historically awarded in the ordinary course on the basis
of advancing in seniority and promotion; and (ii) periodic increases within each attorney’s and paraprofessional’s
current level of seniority. The step increases do not constitute “rate increases” (as the term is used in the U.S. Trustee
Guidelines (defined below). While the rate ranges provided for herein may change if an individual leaves or joins
Akin Gump, and if any such individual’s billing rate falls outside the ranges disclosed above, Akin Gump does not
intend to update the ranges for such circumstances.

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hourly rates for professionals and paraprofessionals employed in its domestic offices are provided

below:

         Billing Category                   2022 Range                       2023 Range
             Partners                      $1,125–1,995                 $1,300.00–$2,145.00
          Senior Counsel                   $845–$1,415                   $940.00–$1,550.00
             Counsel                       $990–$1,225                  $1,120.00–$1,500.00
            Associates                     $605–$1,045                   $735.00–$1,175.00
         Paraprofessionals                  $215–$475                    $215.00–$510.000

         32.    The hourly rates set forth above are Akin Gump’s standard hourly rates for work of

this nature. These rates are set at a level designed to compensate Akin Gump fairly for the work

of its attorneys and paraprofessionals and to cover fixed and routine expenses. Akin Gump

operates in a complicated, national marketplace for legal services in which rates are driven by

multiple factors relating to the individual lawyer, the lawyer’s area of specialization, the firm’s

expertise, performance and reputation, the nature of the work involved and other factors. Akin

Gump’s hourly rates vary with the experience and seniority of the individuals assigned. Akin

Gump’s hourly rates, including those adjustments as set forth herein, are consistent with (i) market

rates for comparable services and (ii) the rates that Akin Gump charges and will charge other

comparable chapter 11 clients, regardless of the location of the chapter 11 case.

         33.    It is Akin Gump’s policy to charge its clients in all areas of practice for expenses

incurred in connection with its representation of a client. The expenses charged to clients include,

among other things, photocopying charges, travel expenses, expenses for “working meals” and

computerized research. Akin Gump will maintain detailed records of actual and necessary costs

and expenses incurred in connection with the legal services provided to the Committee. In the

event that Akin Gump seeks reimbursement for such expenses in accordance with paragraph 29

above, it will do so pursuant to, among other things, any applicable guidelines established by the


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Office of the U.S. Trustee, but will not bill the Debtor’s estate for such expenses during the

pendency of the Chapter 11 Case, subject to the foregoing qualifications.

        34.     No agreement exists, nor will any be made, to share any compensation received by

Akin Gump for its services with any other person or firm other than members of Akin Gump,

except as described herein in connection with the potential contribution to the Debtor’s unsecured

creditors.

        35.     For the reasons stated herein, Akin Gump represents no interest adverse to the

Debtor’s individual creditors or the Committee and, therefore, is capable of fulfilling its duties to

the Committee and the unsecured creditors that the Committee represents.

        36.     The foregoing constitutes the statement of Akin Gump pursuant to Bankruptcy

Code sections 329, 504 and 1103(a), Bankruptcy Rules 2014(a) and 2016(b) and Local Rules 2014-

1 and 2016-1.

                 STATEMENT REGARDING U.S. TRUSTEE GUIDELINES

        37.     The Committee and Akin Gump intend to make a reasonable effort to comply with

the U.S. Trustee’s requests for information and additional disclosures as set forth in the U.S.

Trustee Guidelines in connection with this Application; Akin Gump has, however, requested a

waiver of any requirements to comply with the U.S. Trustee Guidelines in connection with the

requirement to file interim and final fee applications in the course of its engagement. The

Committee and Akin Gump reserve all rights as to the relevance and substantive legal effect of the

U.S. Trustee Guidelines in respect of any application for employment or compensation in the

Chapter 11 Case that falls within the ambit of the U.S. Trustee Guidelines.

        38.     The following is provided in response to the request for additional information set

forth in Section D.1 of the U.S. Trustee Guidelines.



                                                 13
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        (a)      Akin Gump did not agree to any variations from, or alternatives to, its standard
                 or customary billing arrangements for this engagement except as set forth in
                 paragraph 29 above. The rates set forth herein are consistent with (i) market rates
                 for comparable services and (ii) the rates that Akin Gump charges and will charge
                 clients in other comparable chapter 11 cases, regardless of the location of the
                 chapter 11 case. Nevertheless, as discussed herein, Akin Gump has agreed to
                 represent the Committee on a pro bono basis and therefore will be not be seeking
                 current payment of such fees and expenses on a monthly or interim basis. In the
                 event that the Debtor obtains confirmation of a chapter 11 plan or other resolution
                 of the Chapter 11 Case that is not supported by the Committee, Akin Gump
                 reserves the right to seek approval by this Court and payment by the Debtor, in
                 accordance with all applicable rules, of all fees and expenses incurred by the
                 Committee on account of services rendered by Akin Gump in connection with the
                 Chapter 11 Case prior to the conclusion of the Chapter 11 Case.

        (b)      No rate for any of the professionals included in this engagement varies based on
                 the geographic location of the bankruptcy case.

        (c)      Except with respect to its prior representation of Committee members in
                 connection with the Sandy Hook Representation as described above, Akin Gump
                 did not represent any member of the Committee in the Chapter 11 Case prior to
                 its retention by the Committee.

        (d)      In light of Akin Gump’s agreement to be retained as counsel to the Committee in
                 the Chapter 11 Case on a pro bono basis, Akin Gump does not intend to develop
                 a budget in the Chapter 11 Case.

        (e)      The Committee has approved Akin Gump’s proposed hourly billing rates. The
                 Akin Gump attorneys staffed on the Chapter 11 Case, subject to modification
                 depending upon further development, are set forth herein.

       I declare under penalty of perjury that the foregoing is true and correct on this 18th day of

January, 2023.

                                                     /s/ David M. Zensky
                                                     Name: David M. Zensky




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                                         Schedule 1

                               Schedule of Searched Parties

OFFICIAL COMMITTEE OF UNSECURED CREDITORS

Hensel, Jennifer                                 Parker, Robert
Hockley, Nicole                                  Pozner, Leonard
Lewis, Scarlet                                   Wheeler, David

DEBTOR

Alexander E. Jones

OTHER POTENTIAL PARTIES IN INTEREST

Addshoppers, Inc.                                David Icke Books Limited
ADP TotalSource                                  de la Rosa, Veronica
Airco Mechanical, Ltd.                           De Lage Landen Financial Services, Inc.
Aldenberg, William                               Deese, Stetson
Ally Auto                                        DirectTV
Ally Bank                                        eBay
Amazon.com, Inc.                                 eCommerce CDN, LLC
Amazon Marketplace/Amazon Payments,              Edgecast, Inc.
 Inc.                                            Elevated Solutions Group
Amazon Web Services                              EPS, LLC
American Express                                 ERM Protect
American Express National Bank                   Frost Insurance Agency
American Media/Reality Zone                      FW Robert Broadcasting Co.
Andrews, Christopher                             Getty Images, Inc.
AT&T                                             Gilmore, Brennan
Atomial, LLC                                     Gracenote
AWIO Web Services LLC                            Greenair, Inc.
Balcones Recycling, Inc.                         Haivision Network Video
Barden, Jacqueline                               HBO Max
Barden, Mark                                     Heslin, Neil
Biodec, LLC                                        High Gabriel Water Supply Corporation
Blott, Jacqueline                                  d/b/a Texas Water
Campco                                           Hockley, Ian
Chelsea Green Publishing                         Hulu, LLC
City of Austin                                   Impact Fire Services, LLC
Cloudflare, Inc.                                   Inc.
Coan, Richard, Chapter 7 Trustee for Debtor      Independent Publishers Group
Lafferty, Erica                                  Iron Mountain, Inc.
Constant Contact, Inc.                           JCE SEO
CustomTattooNow.com                              JW JIB Productions, LLC
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KI4U.com                                  Schmidt, Robert
Konica Minolta Premier Finance            Security Bank of Crawford
Lafferty, Erica                           Sherlach, William
Lair, Justin                              Simon & Schuster
Lincoln-Remi Group, LLC                   SintecMedia NYC, Inc. DBA Operative
LIT Industrial                            Sirius XM Holdings, Inc.
Logo It, LLC                              Skousen, Joel
Lumen/Level 3 Communications              Skyhorse Publishing
Magento                                   SLNT
Marcel Fontaine (deceased)                Soto, Carlos
Microsoft Bing Ads                        Soto, Donna
Microsoft Online, Inc.                    Soto-Marino, Jillian
Miller, Sean                              Sparkletts & Sierra Springs
mongoDB Cloud                             Spectrum Enterprise aka Time Warner Cable
MRJR Holdings, LLC                        Stamps.com
Music Videos Distributors                 Stone Edge Technologies, Inc.
MVD Entertainment Group                   Stratus Technologies
Netflix, Inc.                             Studio 2426, LLC
NetSuite Inc.                             Synergy North America, Inc.
New Relic                                 TD Canada Trust
Newegg.com                                Texas Comptroller of Public Accounts
One Party America, LLC                    Texas Disposal Systems, Inc.
Orkin, Inc.                               Texas Gas Service
Parisi, Carlee Soto                       Textedly
Payarc                                    The Creative Group
Paymentus                                 The Hartford
Perfect Imprints.com                      The Steam Team, Inc.
Perkins, Wes                              Third Coast Graphics, Inc.
Pipe Hitters Union, LLC                   Thomas, David
Post Hill Press, LLC                      Tolentino, Gabriela
Poulsen, Debra                            Travelers
Power Reviews, Inc.                       Travis County, Texas
PQPR Holdings Limited, LLC                Travis County MUD 3
Precision Camera                          Travis County WCID 17
Precision Oxygen                          U.S. Legal Support
Private Jets, LLC                         Uline Shipping Supply
Protection 1 Alarm                        Vazquez, Valdemar Rodriguez
Public Storage                            Verizon Edgecast
Randazza Legal Group, PLLC                Verizon Wireless
RatsMedical.com                           Vultr
Ready Alliance Group, Inc.                Waste Connections Lone Star, Inc.
Reeves Law, PLLC                          Water Event – Pure Water Solutions
Renaissance                               Watson, Paul
Restore America                           Westwood One, LLC
Richman, Jeremy                           Wheeler, Francine
Sadowksi, Christopher                     Willow Grove Productions

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Wisconsin Dept. of Revenue                                     Your Promotional Products, LLC
WMQM-AM 1600                                                   Zendesk, Inc.
WWCR                                                           Zoom US

RELATED CASES

Free Speech Systems, LLC
InfoW, LLC
IWHealth, LLC
Prison Planet TV, LLC

JUDGES, US TRUSTEE & COURT STAFF (SDTX)

Alonzo, Albert                                                 Isgur, Marvin (Judge)
Bradley, David J.                                              Jones, David R. (Chief Judge)
Castro, Ana                                                    Laws, Tyler
Castro, Ruben                                                  Lopez, Christopher (Judge)
Chavez, Jeannie                                                Miller, Elizabeth
Conrad, Tracey                                                 Norman, Jeffrey P. (Judge)
Do, Linh Thu                                                   Picota, Kimberly
Hansen, Darlene                                                Portillo, Vriana
Rios, Mario                                                    Saldona, Rosario
Rodriguez, Eduardo V. (Judge)

NOTICE OF APPEARANCE PARTIES, AS OF JANUARY 9, 20231

Bank of America, N.A




1
 This category only includes parties that filed notices of appearance that have not been already listed under other
categories.

                                                          3
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                                                   Schedule 2

     Schedule of Parties from Schedule 1 and/or Certain Related Parties that Akin Gump
    Currently Represents, or Has in the Past Three Calendar Years Represented, in Matters
                              Unrelated to the Chapter 11 Case

OFFICIAL COMMITTEE OF UNSECURED CREDITORS

Akin Gump1 has not represented in the past and currently does not represent the Committee
members on matters wholly unrelated to the Chapter 11 Case. As further described in the Zensky
Declaration, Akin Gump represented in the past each of the Committee members on an individual
basis in connection with its prior representation of the Texas Plaintiffs and the Sandy Hook
Families, as applicable, in this Chapter 11 Case and the Related Cases:2

Hensel, Jennifer                                              Parker, Robert
Hockley, Nicole                                               Pozner, Leonard
Lewis, Scarlet                                                Wheeler, David

DEBTOR

Akin Gump has not represented in the past and currently does not represent this party.

OTHER POTENTIAL PARTIES IN INTEREST

Akin Gump currently represents the following entities and/or related parties of such entities on
matters wholly unrelated to the Chapter 11 Case:

Amazon.com, Inc.                                              Microsoft Online, Inc.
Amazon Marketplace/Amazon Payments,                           Netflix, Inc.
   Inc.                                                       The Hartford
Amazon Web Services                                           Verizon Wireless
American Express
American Express National Bank
AT&T
DirectTV
eBay
Hulu, LLC
Microsoft Bing Ads
1
  Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Application of
the Official Committee of Unsecured Creditors of Alexander E. Jones to Retain and Employ Akin Gump Strauss Hauer
& Feld LLP as Counsel, Effective as of December 19, 2022.
2
  As explained in the Application and the Zensky Declaration, Akin Gump previously represented the Texas Plaintiffs
(which includes certain of the Committee members), each on an individual basis, in the now dismissed InfoWars
Cases. Further, the Committee members are part of the Sandy Hook Families that Akin Gump represented, each on
an individual basis, in the Chapter 11 Case and the FSS Case; Akin Gump has withdrawn from its representation of
the Sandy Hook Families in each of this Chapter 11 Case and the FSS Case and will file notices of such withdrawals
in the near term.
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As further described in the Zensky Declaration, Akin Gump represented in the past the following
parties on an individual basis in connection with its prior representation of the Texas Plaintiffs
and the Sandy Hook Families, as applicable, in this Chapter 11 Case and the Related Cases.1 Akin
Gump has not represented in the past and currently does not represent these parties on matters
wholly unrelated to the Chapter 11 Case:

Aldenberg, William
Barden, Jacqueline
Barden, Mark
de la Rosa, Veronique
Fontaine, Marcel (deceased)
Hensel, Jennifer
Heslin, Neil
Hockley, Ian
Hockley, Nicole
Lewis, Scarlett
Parisi, Carlee Soto
Parker, Robert
Pozner, Leonard
Sherlach, William
Soto, Carlos
Soto, Dona
Soto-Marino, Jilliam
Wheeler, David
Wheeler, Francine

Akin Gump has in the past represented the following entity and/or related party of such entity on
matters wholly unrelated to the Chapter 11 Case:

Edgecast, Inc.

RELATED CASES

Akin Gump has not represented in the past and currently does not represent these parties.

JUDGES, US TRUSTEE AND COURT STAFF (SDTX)

Akin Gump has not represented in the past and currently does not represent these parties.




1
  As explained in the Application and the Zensky Declaration, Akin Gump previously represented the Texas Plaintiffs
(which includes certain of these parties), each on an individual basis, in the now dismissed InfoWars Cases. Further,
these parties are part of the Sandy Hook Families that Akin Gump represented, each on an individual basis, in the
Chapter 11 Case and the FSS Case; Akin Gump has withdrawn from its representation of the Sandy Hook Families in
each of this Chapter 11 Case and the FSS Case and will file notices of such withdrawals in the near term.

                                                         2
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PARTIES FILING NOTICES OF APPEARANCE, AS OF JANUARY 9, 2023

Akin Gump currently represents the following entity and/or related parties of such entity on
matters wholly unrelated to the Chapter 11 Case:

Bank of America, N.A.




                                                3
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                                       Schedule 3

     Schedule of Searched Parties and/or Related Parties that are Currently Serving,
      or Have in the Past Served, on Informal and/or Official Creditors’ Committees
                               Represented by Akin Gump

American Express
Bank of America, N.A.
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                           EXHIBIT C

                   Pozner and Parker Declaration
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ALEXANDER E. JONES,                                              ) Case No. 22-33553 (CML)
                                                                     )
                              Debtor.                                )
                                                                     )

                   DECLARATION OF LEONARD POZNER AND
        ROBERT PARKER IN SUPPORT OF THE APPLICATION OF THE OFFICIAL
        COMMITTEE OF UNSECURED CREDITORS OF ALEXANDER E. JONES TO
         RETAIN AND EMPLOY AKIN GUMP STRAUSS HAUER & FELD LLP AS
                 COUNSEL, EFFECTIVE AS OF DECEMBER 19, 2022

             Under 28 U.S.C. § 1746, Leonard Pozner and Robert Parker each declare as follows under

penalty of perjury:

             1.     I am making this declaration in my capacity as co-chair of the Official Committee

of Unsecured Creditors (the “Committee”) appointed in the chapter 11 case of Alexander E. Jones

(the “Debtor,” and such case, the “Chapter 11 Case”). I am competent to make this declaration in

support of the Application of the Official Committee of Unsecured Creditors of Alexander E. Jones

to Retain and Employ Akin Gump Strauss Hauer & Feld LLP as Counsel, Effective as of December

19, 2022 (the “Application”).1

             2.     I submit this Declaration in support of the Application, pursuant to Section D.2. of

the United States Trustee’s Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed Under 11 U.S.C. § 330 for Attorneys in Larger Chapter 11

Cases, 78 Fed. Reg. 36248, effective as of November 1, 2013 (the “U.S. Trustee Guidelines”).




1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.
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Except as otherwise noted, all facts in this Declaration are based on my personal knowledge of the

matters set forth herein, information gathered from my review of relevant documents and

information supplied to me by Akin Gump.

       3.      I am informed by Akin Gump that the U.S. Trustee Guidelines request that any

application for employment of an attorney under Bankruptcy Code section 1103 be accompanied

by a verified statement from the client that addresses the following:

      (a)        The identity and position of the person making the verification.

      (b)        The steps taken by the client to ensure that the applicant’s billing rates and
                 material terms for the engagement are comparable to the applicant’s billing rates
                 and terms for other non-bankruptcy engagements and to the billing rates and
                 terms of other comparably skilled professionals.

      (c)        The number of firms the client interviewed.

      (d)        If the billing rates are not comparable to the applicant’s billing rates for other
                 non-bankruptcy engagements and to the billing rates of other comparably skilled
                 professionals, the circumstances warranting the retention of that firm.

      (e)        The procedures the client has established to supervise the applicant’s fees and
                 expenses and to manage costs. If the procedures for the budgeting, review and
                 approval of fees and expenses differ from those the client regularly employs in
                 non-bankruptcy cases to supervise outside counsel, explain how and why. In
                 addition, describe any efforts to negotiate rates, including rates for routine
                 matters, or in the alternative to delegate such matters to less expensive counsel.

                     THE COMMITTEE’S SELECTION OF COUNSEL

       4.      Following its formation, the Committee found Akin Gump to be uniquely qualified

to represent the Committee in light of (i) Akin Gump’s long history of, and expertise in,

representing official committees in chapter 11 cases and related matters and proceedings, (ii) Akin

Gump’s familiarity with the Related Cases, as well as this Chapter 11 Case, in light of its prior

representation of the Texas Plaintiffs and the Sandy Hook Families, as applicable, in connection

with such cases and (iii) Akin Gump’s agreement to be retained as Committee counsel on a pro




                                                 2
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bono basis. Therefore, the Committee determined to retain Akin Gump. The Committee did not

interview any other firms for the representation.

                                      RATE STRUCTURE

       5.      Akin Gump has informed the Committee that its rates and terms for bankruptcy

representations are comparable to the rates and terms Akin Gump charges and agrees to for

non-bankruptcy representations and comparable to the rates and terms of other comparably skilled

professionals. The Committee has approved Akin Gump’s proposed rates, as set forth in the

Application and the Zensky Declaration. Akin Gump has informed the Committee that its hourly

rates are subject to periodic adjustments (typically in January of each year) to reflect economic

and other conditions. The Committee has consented to such ordinary course rate increases.

                                     COST SUPERVISION

       6.      The Committee recognizes its responsibility to monitor the billing practices of its

counsel to ensure that any fees and expenses to be paid by the Debtor’s estate remain consistent

with the Committee’s expectations and the exigencies of the Chapter 11 Case. Akin Gump has

agreed to serve as counsel to the Committee on a pro bono basis, with one contingent qualification:

Akin Gump reserves the right to seek allowance under the applicable rules of all actual, reasonable

and necessary fees and expenses incurred in connection with Akin Gump’s representation of the

Committee in this Chapter 11 Case in the event that the Debtor obtains confirmation of a chapter

11 plan or other resolution of the Chapter 11 Case that is not supported by the Committee. In that

event, Akin Gump has informed the Committee that all fees and expenses approved by the Court

and paid by the Debtor’s estate to Akin Gump in connection with its representation of the

Committee in the Chapter 11 Case will be contributed to the Debtor’s unsecured creditors.

       7.      Akin Gump has advised the Committee that, in light of Akin Gump’s agreement to

serve as counsel to the Committee in the Chapter 11 Case on a pro bono basis, Akin Gump does

                                                    3
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not intend to develop a budget in the Chapter 11 Case. In addition, Akin Gump has informed the

Committee that, due to the unique facts and circumstances of Akin Gump’s retention, Akin Gump

has requested a waiver of any additional requirement to comply with the U.S. Trustee Guidelines

governing interim or final requests for compensation. Notwithstanding the foregoing, Akin Gump

will provide the Committee, the Debtor and the U.S. Trustee with monthly summary invoices of

the fees and expenses incurred by Akin Gump in connection with its representation of the

Committee.


       I declare under penalty of perjury that the foregoing is true and correct on this 18th day of

January, 2023.


                                        THE OFFICIAL COMMITTEE OF ALEXANDER
                                        E. JONES

                                        /s/ Leonard Pozner
                                        Leonard Pozner, solely in his capacity as Co-Chair of
                                        the Official Committee of Unsecured Creditors of
                                        Alexander E. Jones and not in any other capacity


                                       /s/ Robert Parker
                                       Robert Parker, solely in his capacity as Co-Chair of the
                                       Official Committee of Unsecured Creditors of Alexander
                                       E. Jones and not in any other capacity




                                                4
